' Case 1:23-mc-91513-PBS Document 14-1

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Summons Referral

(if more space is necessary, prepare attachments in quadruplicate.)

1. Name and address of person summoned
DAVID DELGIZZI AS PRESIDENT OF
ADG ING
3 BITTERSWEET LANE
WESTON MA 02493

8. Taxpayer's name and last known address ff different fron Item 1.
ADG ING

157 ROUTE 6A

ORLEANS, MA 02653

2. Summons served at above address?
Yes No (Explain in Section C)

9. Taxpayer's TIN: XX-XXXXXXX

3. Manner of Service
personal service on person summoned
personal service on person authorized to accept service of process-
name and tits:

10. Type of Investigation
delinquent account

| examination
delinquent retum ather (spacify)
criminal

DX] delivered to other person over 16 years old at last known address -
name and relationship to person summoned: CAROLYN
DELGIZZI, SPOUSE

41. Type of tax and periods Involved (Explain in A. if periods in description of
records are different fram periods stated in summons caption.)
Corporate income tax for 12/31/2012, 12/31/2013, 12/31/2014,
12/31/2015, 12/31/2016 and 12/31/2017

UO

left at last known addrass-not delivered fo anyone:

12. All applicable tax periods included on summons?

(specify method, 1.@., slipped under door, attached to doar, etc.)
: Yes LC] No (Explain in Section C.)
4, If third party summons, was notice given to all persons to whom records 13, Statute of limitations problems?
rtain? Yes (Explain in Section C.) No

88 (indicate in Section B whether petition ta quash summons was filect)
nolicee(s) other than taxpayer, list narnes and addresses in Section C.}

ke No (Explain in Section C.)

LX] Nota third party summons

14, Tax liability involved
assessed 360,967.34

estimated $55,159.14 (Explain in Section C.)

5. Date of Service Appearance Date 15. Taxpayer Category (corporation, salaried individual, etc.; include
spouse if applicable)
01/24/2023 02/08/2023 Corporation
6, Person Summoned 416. Other civil, criminal, or administrative actions (Summons enforcement, sui,
did not appear C] appeared but did not provide seizure, etc.) pending against taxpayer or person summoned?
all summoned information Yes (Explain in Section C.) No
7. Does the IRS possess any of summoned information? 17. Has there been a referral of this or a related case to the Depariment of
Justice?

I Yes (Explain in Section C.) No

BX] No

CI Yes (Explain in Section C.)

A. Describe exact purpose of summons and relevance of summioned information to periods under investigation:
To secure a Collection information Statement for Businesses, Form 4338, and supporting documents from January 12022 through December 34
2022 as requested in the summons to assist in determining the corpation's ability to pay its Federal Income Tax Liability.

B. Reason for not complying, if known:
Unknown

C, Other information (include synopsis of attempts to obtain information before summons was issued, if summoned person Is the taxpayer.)

Referring Officers Name, Telephone Number, Office Location, and Office Symbols ferri Cc ignature Date Referred
RUSSELL S SILVERSTEIN, ,(203) 492-8654 21023724 Resse 3 Uodibola 02/08/2023
Issuing Officer's Name Date Issued
Approved by (Signature and Title}—If Required Date Approved Reviewed by (Signature and Title) Date Reviewed
Form 44.43 (Rev. 2-93) Part #1 Department of the Treasury

Intemal Revenue Service
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Summons
Collection Information Statement

In the matter of ADG INC, 157 ROUTE 64, ORLEANS, MA 02653

internal Revenue Service (identify Division) SMALL BUSINESS/SELF EMPLOYED
industry/Area (identify by number or name) _ Small Business / Self Employed
Perlods:_ See Attachment 1 to Summons Forn 6637 for Period Information

The Commissioner of Internal Revenues

To:__DAVID DELGIZZ| AS PRESIDENT OF
At: ADG INC, 3 BITTERSWEET LANE, WESTON, MA 02493

You are hereby summoned and required to appear before_, an Internal Revenue ServiceRUSSELL S SILVERSTEIN (/RS) officer,
to give testimony and to bring for examination the following information related fo the collection of the tax liability of the person
identified above for the periods shown:

All documents and records you possess or contro! regarding asaets, liabilities, or accounts held in the taxpayer's name or for the
taxpayer's benefit which the taxpayer wholly or partially owns, or in which the taxpayer has a security interest. These records
and documents include but are not limited to: all bank statements, checkbooks, canceled checks, saving account passbooks,
records or certificates of deposit for the period:

From_01/01/2022 To_12/31/2022

Also include all currant vehicle registration certificates, deeds or contracts regarding real property, stocks and bonds, accounts,
stored value cards, antine and mobile accounts, virtual currency, notes and Judgments receivable, and all life or health insurance
policies.

IRS will use this information to prepare a Collection Information Statement. We have attached a blank statement to guide you in
producing the necessary documents and records,

Do not write in this space

Business address and telephone number of IRS officer before whom you are to appear:
120 LIBERTY STREET, BROCKTON, MA 02301 (203) 492-8654

Place and time for appearance: At_120 LIBERTY STREET, BROCKTON, MA 02301

onthe 8thday of__ February, 2023 at___ 9:000'clack__ arn.
Issued under authority of the tférnal Revenue Cotle this 23rd day of_ January 2023 |

Signature of issuing officer Title
RUSSELL S SILVERSTEIN) Me | REVENUE OFFICER
Signature of approving officer (if applicable) Title
Form 6637 (Rev. 6-2020) Catalog Number 25000Q publish no.ire.gov Department of the Treasury ~ Internal Revenue Service

Original -- 16 be kept by IRS
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Certificate of Service of Summons
(Pursuant to section 7603, Intemal Revenue Code)

| certify that | served jpe suramons shown on the front of this form on:

Date Way 9.09% rime) 5

How Summons Was Served

Cl 1. [handed an atlested copy of the summons to the person to whom it was directed.

2. Heft an attested copy of the summons at the last and usual place of abode of the person fo whom it was directed.
| left the copy with the following person (if any).
Carctgn C EGY

Steratue Fog fF Se ~ "BOramurrl ZL LN le»

fo

WA paguescd

| certify that the copy.efthe summons served contained the required certification.
. Se wit eta

£,

Signagiry” _. SS nn : Title 7 .
: PLA OU w-

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Attachment to Summons Form 1 6637

in the matter of ADG INC

Period information: Form 1120 for the fiscal periods ending December 31, 2012, December 31, 2013,
December 31, 2014, December 31, 2015, December 31, 2016 and December 31, 2017
